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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION

  SHREVEPORT CHAPTER #237                                CASE NO. 5:17-CV-01346
  OF UNITED DAUGHTERS OF THE
  CONFEDERACY

  VERSUS                                                 JUDGE ROBERT G. JAMES

  CADDO PARISH COMMISSION                                MAG. JUDGE MARK L. HORNSBY


                                         JUDGMENT

        For the reasons set forth in the Court’s Memorandum Ruling issued this date,

        IT IS ORDERED that the Motion for Summary Judgment [Doc. No. 88], filed by

  Defendant the Caddo Parish Commission, is GRANTED, and Plaintiff’s claims are DISMISSED

  WITH PREJUDICE at Plaintiff’s cost.

        MONROE, LOUISIANA, this 25th day of July, 2018.



                                                    _________________________________
                                                           ROBERT G. JAMES
                                                    UNITED STATES DISTRICT JUDGE
